                          Case 3:23-cv-03417-VC Document 72 Filed 01/10/24 Page 1 of 14



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                   12

                   13                              UNITED STATES DISTRICT COURT

                   14                           NORTHERN DISTRICT OF CALIFORNIA

                   15                                   SAN FRANCISCO DIVISION

                   16
                        RICHARD KADREY, SARAH SILVERMAN,               Case No. 3:23-cv-03417-VC
                   17   CHRISTOPHER GOLDEN, MICHAEL
                        CHABON, TA-NEHISI COATES, JUNOT                DEFENDANT META PLATFORMS INC.’S
                   18   DÍAZ, ANDREW SEAN GREER, DAVID                 ANSWER TO FIRST CONSOLIDATED
                        HENRY HWANG, MATTHEW KLAM,                     AMENDED COMPLAINT
                   19   LAURA LIPPMAN, RACHEL LOUISE
                        SNYDER, AYELET WALDMAN, AND
                   20   JACQUELINE WOODSON,

                   21      Individual and Representative Plaintiffs,

                   22          v.

                   23   META PLATFORMS, INC., a Delaware
                        corporation;
                   24
                                                        Defendant.
                   25

                   26

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ATTORNEYS AT LAW
                                                                                         META’S ANSWER TO FCAC
                                                                                                3:23-CV-03417-VC
                            Case 3:23-cv-03417-VC Document 72 Filed 01/10/24 Page 2 of 14



                    1          Defendant Meta Platforms, Inc. (“Meta”), by and through counsel, hereby responds to the
                    2   First Consolidated Amended Complaint (“FCAC”) filed by Plaintiffs Richard Kadrey, Sarah
                    3   Silverman, Christopher Golden, Michael Chabon, Ta-Nehisi Coates, Junot Díaz, Andrew Sean
                    4   Greer, David Henry Hwang, Matthew Klam, Laura Lippman, Rachel Louise Snyder, Ayelet
                    5   Waldman, and Jacqueline Woodson (together, “Plaintiffs”). Unless specifically admitted, Meta
                    6   denies each of the allegations in the FCAC.
                    7                                            I. OVERVIEW1
                    8          1.       Meta admits that it has created two large language models (“LLMs”) referred to as
                    9   Llama 1 and Llama 2. Except as expressly admitted, Meta denies the allegations in paragraph 1.
                   10          2.       Meta admits that some LLMs have been trained using training datasets composed
                   11   of large amounts of text data. As paragraph 2 pertains generally to LLMs and not any particular
                   12   LLM of Meta, Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   13   the remaining allegations set forth in paragraph 2, and on that basis denies the same.
                   14          3.       Meta admits that some LLMs have been trained using training data and were able
                   15   to generate outputs after training. As paragraph 3 pertains generally to LLMs and not any particular
                   16   LLM of Meta, Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   17   the remaining allegations set forth in paragraph 3, and on that basis denies the same.
                   18          4.       Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   19   the allegations set forth in paragraph 4, and on that basis denies the same.
                   20          5.       Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   21   the allegations set forth in paragraph 5, and on that basis denies the same.
                   22                                    II. JURISDICTION & VENUE
                   23          6.       The allegations in this paragraph state a legal conclusion to which no response is
                   24   required. To the extent a response is deemed required, Meta admits that this action purports to arise
                   25   under the copyright laws of the United States, 17 U.S.C. § 101 et seq., and that the Court has
                   26   original subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, provided that
                   27
                        1
                   28    Meta includes the headings as listed in the FCAC without any admission as to the accuracy or
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                        appropriateness of the headings.
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                                                                                                       META’S ANSWER TO FCAC
                                                                          1                                   3:23-CV-03417-VC
                           Case 3:23-cv-03417-VC Document 72 Filed 01/10/24 Page 3 of 14



                    1   standing and other requirements are met. Except as expressly admitted, Meta denies the remaining
                    2   allegations set forth in paragraph 6.
                    3           7.       The allegations in this paragraph state a legal conclusion to which no response is
                    4   required. To the extent a response is deemed to be required, Meta admits that this Court has
                    5   personal jurisdiction over it with respect to the instant action and that venue is proper in this judicial
                    6   district. Except as expressly admitted, Meta denies the allegations in paragraph 7.
                    7           8.       The allegations in this paragraph state a legal conclusion to which no response is
                    8   required. To the extent a response is deemed to be required, Meta admits that assignment of this
                    9   case to the San Francisco Division is proper, and that Meta is headquartered in San Mateo County.
                   10   Except as expressly admitted, Meta denies the allegations in paragraph 8.
                   11                                               III. PARTIES
                   12   A. Plaintiffs
                   13           9.       Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   14   the allegations set forth in paragraph 9, and on that basis denies the same.
                   15           10.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   16   the allegations set forth in paragraph 10, and on that basis denies the same.
                   17           11.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   18   the allegations set forth in paragraph 11, and on that basis denies the same.
                   19           12.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   20   the allegations set forth in paragraph 12, and on that basis denies the same.
                   21           13.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   22   the allegations set forth in paragraph 13, and on that basis denies the same.
                   23           14.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   24   the allegations set forth in paragraph 14, and on that basis denies the same.
                   25           15.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   26   the allegations set forth in paragraph 15, and on that basis denies the same.
                   27           16.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   28   the allegations set forth in paragraph 16, and on that basis denies the same.
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                                                                            2                                  3:23-CV-03417-VC
                           Case 3:23-cv-03417-VC Document 72 Filed 01/10/24 Page 4 of 14



                    1          17.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                    2   the allegations set forth in paragraph 17, and on that basis denies the same.
                    3          18.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                    4   the allegations set forth in paragraph 18, and on that basis denies the same.
                    5          19.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                    6   the allegations set forth in paragraph 19, and on that basis denies the same.
                    7          20.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                    8   the allegations set forth in paragraph 20, and on that basis denies the same.
                    9          21.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   10   the allegations set forth in paragraph 21, and on that basis denies the same.
                   11          22.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   12   the allegations set forth in paragraph 22 or as to the content of Exhibit A, and on that basis denies
                   13   the same.
                   14   B. Defendant
                   15          23.      Meta admits the allegations in paragraph 23.
                   16                             IV. AGENTS AND CO-CONSPIRATORS
                   17          24.      Meta denies the allegations in paragraph 24.
                   18          25.      Meta denies the allegations in paragraph 25.
                   19                                   V. FACTUAL ALLEGATIONS
                   20          26.      Meta admits that it creates, markets, and sells software and hardware technology
                   21   products, and that its software and services include Facebook, Instagram, and Horizon Worlds,
                   22   among others. Meta admits that it has an artificial intelligence research group that conducts
                   23   research on artificial intelligence technologies. Meta also admits that it has created and distributed
                   24   the Llama 1 and Llama 2 artificial intelligence software products. Meta denies the remaining
                   25   allegations and characterizations in paragraph 26.
                   26          27.      Meta admits that “artificial intelligence” is commonly abbreviated “AI.” As
                   27   paragraph 27 pertains generally to AI and not any particular AI technologies of Meta, Meta lacks
                   28
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                                                                                                    META’S ANSWER TO FCAC
                                                                          3                                3:23-CV-03417-VC
                           Case 3:23-cv-03417-VC Document 72 Filed 01/10/24 Page 5 of 14



                    1   knowledge and information sufficient to form a belief as to the truth of the remaining allegations
                    2   set forth in paragraph 3, and on that basis denies the same.
                    3          28.      Meta admits that it publicly released the initial version of Llama in February 2023,
                    4   and that it has adopted the capitalization convention “Llama” in addition to “LLaMA.” Meta
                    5   further admits that it uses the name “Llama” to refer to Llama 1 and Llama 2, each of which is an
                    6   example of AI software. Meta admits that the corpus of material used to train an LLM has been
                    7   referred to as a “training dataset.” Except as expressly admitted, Meta denies the allegations in
                    8   paragraph 28.
                    9          29.      The allegations in this paragraph state a legal conclusion to which no response is
                   10   required. To the extent a response is deemed required, Meta denies that its use of copyrighted
                   11   works to train Llama required consent, credit, or compensation. Meta lacks knowledge and
                   12   information sufficient to form a belief as to the truth of the remaining allegations set forth in
                   13   paragraph 29, and on that basis denies the same.
                   14          30.      Meta admits that Llama 1 was trained prior to its public release in February 2023.
                   15   Except as expressly admitted, Meta denies the allegations in paragraph 30.
                   16          31.      Meta admits the allegations in paragraph 31.
                   17          32.      The allegations in paragraph 32 pertain generically to “open sourcing” and do not
                   18   refer to any particular open source model or open source license adopted by Meta; as such, Meta
                   19   lacks knowledge and information sufficient to form a belief as to the truth of the allegations set
                   20   forth in paragraph 32, and on that basis denies the same.
                   21          33.      Meta admits the Llama 1 Paper discusses the Llama 1 training dataset, noting the
                   22   size of the training data and where some of the training data comes from, and refers to the referenced
                   23   Paper for information that it does and does not include. Meta further refers to the Paper itself for
                   24   its contents. Meta otherwise denies the allegations in paragraph 33.
                   25          34.      To the extent the allegations set forth in this paragraph purport to summarize or
                   26   characterize the contents of the document located at https://arxiv.org/pdf/2101.00027.pdf (the
                   27   “EleutherAI Paper”), the document speaks for itself. Meta lacks knowledge and information
                   28
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                                                                                                    META’S ANSWER TO FCAC
                                                                           4                               3:23-CV-03417-VC
                           Case 3:23-cv-03417-VC Document 72 Filed 01/10/24 Page 6 of 14



                    1   sufficient to form a belief as to the truth of the remaining allegations set forth in paragraph 34, and
                    2   on that basis denies the same.
                    3          35.      To the extent the allegations set forth in this paragraph purport to summarize or
                    4   characterize the contents of the EleutherAI Paper, the document speaks for itself. Meta denies that
                    5   the EleutherAI Paper indicates that Books3 comprises 108 gigabytes of data and that it is the third
                    6   largest component of the Pile by size. Meta lacks knowledge and information sufficient to form a
                    7   belief as to the truth of the remaining allegations set forth in paragraph 35, and on that basis denies
                    8   the same.
                    9          36.      To the extent the allegations set forth in this paragraph purport to summarize or
                   10   characterize the contents of the EleutherAI Paper, the document speaks for itself.
                   11          37.      The allegations in this paragraph state a legal conclusion to which no response is
                   12   required. To the extent a response is deemed required, Meta lacks knowledge and information
                   13   sufficient to form a belief as to the truth of the allegations set forth in paragraph 37, and on that
                   14   basis denies the same.
                   15          38.      To the extent the allegations set forth in this paragraph purport to summarize or
                   16   characterize        the          contents      of        the        webpage          located         at
                   17   https://twitter.com/theshawwn/status/1320282149329784833, the webpage speaks for itself. Meta
                   18   lacks knowledge and information sufficient to form a belief as to the truth of the remaining
                   19   allegations set forth in paragraph 38, and on that basis denies the same.
                   20          39.      The allegations in this paragraph state a legal conclusion to which no response is
                   21   required. To the extent a response is deemed required, Meta denies that it infringed Plaintiffs’
                   22   alleged copyrights. Meta lacks knowledge and information sufficient to form a belief as to the truth
                   23   of the remaining allegations set forth in paragraph 39, and on that basis denies the same.
                   24          40.      To the extent the allegations set forth in this paragraph purport to summarize or
                   25   characterize        the          contents      of        the        webpage          located         at
                   26   https://news.ycombinator.com/item?id=36197731, the webpage speaks for itself.             Meta lacks
                   27   knowledge and information sufficient to form a belief as to the truth of the remaining allegations
                   28   set forth in paragraph 40, and on that basis denies the same.
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                                                                                                     META’S ANSWER TO FCAC
                                                                            5                               3:23-CV-03417-VC
                           Case 3:23-cv-03417-VC Document 72 Filed 01/10/24 Page 7 of 14



                    1          41.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                    2   the allegations set forth in paragraph 41, and on that basis denies the same.
                    3          42.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                    4   the allegations set forth in paragraph 42, and on that basis denies the same.
                    5          43.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                    6   the allegations set forth in paragraph 43, and on that basis denies the same.
                    7          44.      Meta admits that the Llama 1 Paper states that the dataset used to train Llama 1 was
                    8   publicly available. The remaining allegations in this paragraph 44 state legal conclusions to which
                    9   no response is required. To the extent a response is deemed required, Meta admits that a work in
                   10   the public domain in the United States is not protected by copyright in the United States, and that
                   11   a work that is publicly available may be protected by copyright. Except as expressly admitted,
                   12   Meta denies the allegations in paragraph 44.
                   13          45.      The allegations in this paragraph state a legal conclusion to which no response is
                   14   required. To the extent a response is deemed required, Meta admits that is aware of the conceptual
                   15   distinction between works in the “public domain” and works that are “publicly available.” Except
                   16   as expressly admitted, Meta denies the allegations in paragraph 45.
                   17          46.      Meta denies that it is misleading to describe Books3 as “publicly available.” Meta
                   18   lacks knowledge and information sufficient to form a belief as to the truth of the remaining
                   19   allegations set forth in paragraph 46, and on that basis denies the same.
                   20          47.      Meta denies the allegations in paragraph 47.
                   21          48.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   22   the allegations set forth in paragraph 48, and on that basis denies the same.
                   23          49.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   24   the allegations set forth in paragraph 49, and on that basis denies the same.
                   25          50.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   26   the allegations set forth in paragraph 50, and on that basis denies the same.
                   27          51.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   28   the allegations set forth in paragraph 51, and on that basis denies the same.
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                                                                                                    META’S ANSWER TO FCAC
                                                                         6                                 3:23-CV-03417-VC
                            Case 3:23-cv-03417-VC Document 72 Filed 01/10/24 Page 8 of 14



                    1          52.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                    2   the allegations set forth in paragraph 52, and on that basis denies the same.
                    3          53.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                    4   the allegations set forth in paragraph 53, and on that basis denies the same.
                    5          54.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                    6   the allegations set forth in paragraph 54, and on that basis denies the same.
                    7          55.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                    8   the allegations set forth in paragraph 55, and on that basis denies the same.2
                    9          56.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   10   the allegations set forth in paragraph 56, and on that basis denies the same.
                   11          57.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   12   the allegations set forth in paragraph 57, and on that basis denies the same.
                   13          58.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   14   the allegations set forth in paragraph 58, and on that basis denies the same.
                   15          59.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   16   the allegations set forth in paragraph 59, and on that basis denies the same.
                   17          60.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   18   the allegations set forth in paragraph 60, and on that basis denies the same.
                   19          61.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   20   the allegations set forth in paragraph 61, and on that basis denies the same.
                   21          62.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   22   the allegations set forth in paragraph 62, and on that basis denies the same.
                   23          63.      Meta admits that portions of Books3 were used as training data for Llama 1 prior
                   24   to its release in February 2023. Meta lacks knowledge and information sufficient to form a belief
                   25

                   26
                        2
                   27     Paragraphs 55, 57, 60-62 of the FCAC are truncated and refer to an alleged discussion that is no
                        longer accessible online. Meta has alleged that the FCAC appears to reveal an unauthorized
                   28   disclosure of attorney-client privileged communications. Nothing herein shall be deemed to waive
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                        Meta’s rights, all of which are reserved.
ATTORNEYS AT LAW
                                                                                                    META’S ANSWER TO FCAC
                                                                          7                                3:23-CV-03417-VC
                           Case 3:23-cv-03417-VC Document 72 Filed 01/10/24 Page 9 of 14



                    1   as to the truth of the remaining allegations set forth in paragraph 63, and on that basis denies the
                    2   same.
                    3           64.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                    4   the allegations set forth in paragraph 64, and on that basis denies the same.
                    5           65.      Meta admits the allegations in paragraph 65.
                    6           66.      Meta admits that it distributed Llama 1 to certain people and entities, and that the
                    7   names of those people and entities were not disclosed. Except as expressly admitted, Meta denies
                    8   the allegations in paragraph 66.
                    9           67.      Meta admits the allegations in paragraph 67, except that it denies any suggestion
                   10   that it had a role in the leak referenced in paragraph 67.
                   11           68.      Meta admits that a representative of Meta submitted a takedown notice to Github
                   12   in March 2023 concerning the publication of a tool that helped individuals access leaked model
                   13   weights for Llama 1. That notice included a representation that Meta owned rights in the subject
                   14   of the notice. Except as expressly admitted, Meta denies the allegations in paragraph 68.
                   15           69.      Meta admits that portions of Books3, among many other materials, were used as
                   16   training data for Llama 2 prior to its public release in July 2023. Except as expressly admitted,
                   17   Meta denies the allegations in paragraph 69.
                   18           70.      To the extent the allegations set forth in this paragraph purport to summarize or
                   19   characterize the contents of the document located at https://arxiv.org/pdf/2307.09288.pdf (the
                   20   “Llama 2 Paper”), the document speaks for itself.
                   21           71.      To the extent the allegations set forth in this paragraph purport to summarize or
                   22   characterize the contents of the webpage located at https://ai.meta.com/llama/faq/, the webpage
                   23   speaks for itself. Meta admits that it has made Llama 2 available under a license different from the
                   24   license applicable to Llama 1, and the terms of those licenses speak for themselves. Except as
                   25   expressly admitted, Meta denies the allegations in paragraph 71.
                   26           72.      To the extent the allegations set forth in this paragraph purport to summarize or
                   27   characterize the contents of the webpage located at https://ai.meta.com/llama/faq/, the webpage
                   28   speaks for itself.
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                                                                                                    META’S ANSWER TO FCAC
                                                                          8                                3:23-CV-03417-VC
                            Case 3:23-cv-03417-VC Document 72 Filed 01/10/24 Page 10 of 14



                    1           73.      To the extent the allegations set forth in this paragraph purport to summarize or
                    2   characterize the contents of the Llama 2 Paper, the document speaks for itself. Meta admits that
                    3   Llama 2, like Llama 1, was trained on a mix of publicly available data. Except as expressly
                    4   admitted, Meta denies the allegations in paragraph 73.
                    5           74.      To the extent the allegations set forth in this paragraph purport to summarize or
                    6   characterize the contents of Meta’s October 26, 2023 Form 10-Q, such document speaks for itself.
                    7   Meta denies the remaining allegations in paragraph 74.
                    8           75.      To the extent the allegations set forth in this paragraph purport to summarize or
                    9   characterize the contents of the Llama 2 Paper, the document speaks for itself. Meta denies the
                   10   Plaintiffs’ characterization of the paper and the remaining allegations in paragraph 75.
                   11           76.      Meta denies the allegations in paragraph 76.
                   12                                       VI. CLAIM FOR RELIEF
                   13                                     Direct Copyright Infringement
                   14                                          17 U.S.C. § 101 et seq.
                   15           77.      Meta incorporates by reference its responses to paragraphs 1 through 76 above as
                   16   though fully set forth herein.
                   17           78.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   18   the allegations set forth in paragraph 78, and on that basis denies the same.
                   19           79.      Meta admits that it used portions of the Books3 dataset, among many other
                   20   materials, to train Llama 1 and Llama 2. Meta lacks knowledge and information sufficient to form
                   21   a belief as to the truth of the remaining allegations set forth in paragraph 79, and on that basis denies
                   22   the same.
                   23           80.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   24   the allegations set forth in paragraph 80, and on that basis denies the same.3
                   25           81.      Meta lacks knowledge and information sufficient to form a belief as to the truth of
                   26   the allegations set forth in paragraph 81, and on that basis denies the same.
                   27
                        3
                          Plaintiffs have expressly confirmed that this paragraph is not intended to assert that Meta
                   28   created any derivative works or is liable for “derivative infringement” (ECF No. 71 at 14-15), a
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                        claim that was dismissed by the Court.
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                                                                                                       META’S ANSWER TO FCAC
                                                                           9                                  3:23-CV-03417-VC
                          Case 3:23-cv-03417-VC Document 72 Filed 01/10/24 Page 11 of 14



                    1          82.      Meta denies the allegations in paragraph 82.
                    2                                    VII. CLASS ALLEGATIONS
                    3   A. Class Definition
                    4          83.      The allegations in paragraph 83 state legal conclusions or arguments to which no
                    5   response is required. To the extent a response is deemed required, Meta denies that this action is
                    6   suitable for class treatment under Rule 23.
                    7          84.      The allegations in paragraph 84 state legal conclusions or arguments to which no
                    8   response is required.
                    9   B. Numerosity
                   10          85.      The allegations in paragraph 85 state legal conclusions or arguments to which no
                   11   response is required. To the extent a response is deemed required, Meta denies that it possesses
                   12   information concerning the exact number of members of Plaintiffs’ putative class. Meta lacks
                   13   knowledge and information sufficient to form a belief as to the truth of the remaining allegations
                   14   set forth in paragraph 85, and on that basis denies the same.
                   15   C. Typicality
                   16          86.      The allegations in paragraph 86 state legal conclusions or arguments to which no
                   17   response is required. To the extent a response is deemed required, Meta denies the allegations in
                   18   paragraph 86.
                   19   D. Adequacy
                   20          87.      The allegations in paragraph 87 state legal conclusions or arguments to which no
                   21   response is required. To the extent a response is deemed required, Meta denies the allegations in
                   22   paragraph 87.
                   23   E. Commonality and Predominance
                   24          88.      The allegations in paragraph 88 state legal conclusions or arguments to which no
                   25   response is required. To the extent a response is deemed required, Meta denies that this action is
                   26   suitable for class treatment under Rule 23.
                   27

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                                                                         10                             3:23-CV-03417-VC
                          Case 3:23-cv-03417-VC Document 72 Filed 01/10/24 Page 12 of 14



                    1          89.      The allegations in paragraph 89 state legal conclusions or arguments to which no
                    2   response is required. To the extent a response is deemed required, Meta denies the allegations in
                    3   paragraph 89.
                    4   F. Other Class Considerations
                    5          90.      The allegations in paragraph 90 state legal conclusions or arguments to which no
                    6   response is required. To the extent a response is deemed required, Meta denies the allegations in
                    7   paragraph 90.
                    8          91.      The allegations in paragraph 91 state legal conclusions or arguments to which no
                    9   response is required. To the extent a response is deemed required, Meta denies the allegations in
                   10   paragraph 91.
                   11                                  VII. DEMAND FOR JUDGMENT
                   12          92.      Meta denies that this action may be maintained as a Class Action under Rule 23 of
                   13   the Federal Rules of Civil Procedure as alleged in the FCAC. Meta denies that Plaintiffs and the
                   14   proposed Class are entitled to relief whatsoever, including but not limited to the relief sought in the
                   15   section of the FCAC titled “Demand for Judgment.” To the extent that this section contains any
                   16   allegations, Meta denies the same.
                   17                                      AFFIRMATIVE DEFENSES
                   18          Meta asserts that Plaintiffs’ claims are barred, in whole or in part, by the defenses set forth
                   19   herein. By setting forth these defenses, Meta does not assume the burden of proving any fact, issue,
                   20   or element of a cause of action where such burden properly belongs to Plaintiffs. Meta reserves
                   21   the right to plead any and all defenses that may be evident or revealed after investigation and
                   22   discovery in this matter.
                   23                                  FIRST AFFIRMATIVE DEFENSE
                   24          To the extent that Meta made any unauthorized copies of any Plaintiffs’ registered
                   25   copyrighted works, such copies constitute fair use under 17 U.S.C. § 107.
                   26                                SECOND AFFIRMATIVE DEFENSE
                   27          Plaintiffs allege infringement with respect to tens of thousands of literary works that were
                   28   allegedly included as part of the Books3 training dataset. To the extent the accused Books3 dataset
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                                                                                                     META’S ANSWER TO FCAC
                                                                          11                                3:23-CV-03417-VC
                          Case 3:23-cv-03417-VC Document 72 Filed 01/10/24 Page 13 of 14



                    1   includes works in the public domain, unregistered works, works to which copyright protection has
                    2   been abandoned, works that lack requisite originality, works that are not subject to copyright
                    3   protection under the doctrines of merger, scènes à faire or under 17 U.S.C. § 102(b) or otherwise
                    4   unprotectable under the law, or works that are subject to misuse, unclean hands, laches, estoppel or
                    5   other equitable defenses, or works that were not properly registered or renewed, provided improper
                    6   notice, and/or did not comply with registration requirements and/or with other necessary
                    7   formalities, Meta reserves its right to defend against Plaintiffs’ claims on any or all of these
                    8   grounds.
                    9                                  THIRD AFFIRMATIVE DEFENSE
                   10           Plaintiffs’ claims are barred or limited to the extent that the works over which they assert
                   11   copyright and copyright infringement were subject of a license or permission given to Defendant
                   12   or its agents.
                   13                                  FOURTH AFFIRMATIVE DEFENSE
                   14           Some or all of Plaintiffs’ claims are barred to the extent certain of the Plaintiffs do not own
                   15   the copyright and/or electronic rights for some of all of the works, and/or otherwise lack standing
                   16   to assert the claims herein.
                   17                                  FIFTH AFFIRMATIVE DEFENSE
                   18           Any allegation that Meta created a derivative work fails to state a claim and the Court
                   19   already dismissed such allegations.
                   20
                        Dated: January 10, 2024                                   COOLEY LLP
                   21

                   22
                                                                            By:
                   23                                                             Bobby Ghajar
                                                                                  Mark Weinstein
                   24                                                             Kathleen Hartnett
                                                                                  Judd Lauter
                   25                                                             Colette Ghazarian
                   26                                                             LEX LUMINA PLLC
                                                                                  Mark A. Lemley
                   27
                                                                                  Attorneys for Defendant
                   28                                                             META PLATFORMS, INC.
COOLEY LLP
ATTORNEYS AT LAW
                                                                                                      META’S ANSWER TO FCAC
                                                                          12                                 3:23-CV-03417-VC
                          Case 3:23-cv-03417-VC Document 72 Filed 01/10/24 Page 14 of 14



                    1                                  DEMAND FOR TRIAL BY JURY
                    2           Meta hereby demands a trial by jury on all claims, counterclaims, defenses, and issues in

                    3   this action so triable.

                    4
                        Dated: January 10, 2024                                 COOLEY LLP
                    5

                    6
                                                                          By:
                    7                                                           Bobby Ghajar
                                                                                Mark Weinstein
                    8                                                           Kathleen Hartnett
                                                                                Judd Lauter
                    9                                                           Colette Ghazarian
                   10                                                           LEX LUMINA PLLC
                                                                                Mark A. Lemley
                   11
                                                                                Attorneys for Defendant
                   12                                                           META PLATFORMS, INC.
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COOLEY LLP
ATTORNEYS AT LAW
                                                                                                    META’S ANSWER TO FCAC
                                                                        13                                 3:23-CV-03417-VC
